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 9     NAIL ALLIANCE, LLC AND
       NAIL ALLIANCE – NORTH
10     AMERICA, INC.
11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13    NAIL ALLIANCE, LLC and           Case No. 22-937
      NAIL ALLIANCE – NORTH AMERICA,
14    INC., inclusive,               COMPLAINT FOR:
15                            Plaintiffs,          (1) TRADE DRESS
                                                   INFRINGEMENT
16          vs.
                                                   (2) FALSE DESIGNATION OF
17    VISHINE ENTERPRISE LIMITED and               ORIGIN
      DOES 1-10, inclusive
18                                                 (3) DESIGN PATENT
                              Defendant.           INFRINGEMENT
19
                                                   (4) UTILITY PATENT
20                                                 INFRINGEMENT
21                                                 (5) UNFAIR COMPETITION
                                                   (CAL. BUS. & PROF. CODE §
22                                                 17200 ET SEQ.)
23                                                 JURY TRIAL DEMANDED
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        PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1           Plaintiffs Nail Alliance, LLC and Nail Alliance – North America, Inc.
 2     (collectively, “Plaintiffs” or “Nail Alliance”), by and through counsel, hereby file
 3     this Complaint for trade dress infringement, false designation of origin, patent
 4     infringement, and unfair competition against Defendants Vishine Enterprise Limited
 5     (“Vishine” or “Defendant”) and Does 1-10 (collectively with Vishine,
 6     “Defendants”), and allege on knowledge as to Plaintiffs’ actions, and otherwise
 7     upon information and belief, as follows:
 8                                           PARTIES
 9           1.    Plaintiff Nail Alliance, LLC is a limited liability corporation duly
10     organized under the laws of Delaware, with its principal place of business in
11     Gladstone, Missouri. Nail Alliance LLC owns and holds intellectual property rights
12     recognized and protected by U.S. Trademark Registration Nos. 3,857,946,
13     4,096,115, 4,473,557, and 4,473,558, U.S. Patent No. D656,824 to a Bottle with
14     Transparent Window, and U.S. Patent No. 8,528,739 entitled Package for Colored
15     Products. Nail Alliance, LLC licenses use of these patents and trademarks to Nail
16     Alliance – North America, Inc.
17           2.    Nail Alliance – North America, Inc., formally known as Hand & Nail
18     Harmony, Inc., is a corporation duly organized under the laws of the State of
19     California, with its principal place of business in Brea, California. Nail Alliance –
20     North America, Inc. manufactures, distributes, and sells high-quality, soak-off gel
21     polishes and other nail products, accessories, and preparations under the patents and
22     trademarks licensed from Nail Alliance, LLC, through its qualified distributors, and
23     sells its products licensed under the patents and trademarks of Nail Alliance, LLC to
24     stores, boutiques, and salons in this Judicial District and throughout the world.
25           3.    On information and belief, Vishine is a limited company organized
26     under the laws of China, doing business at Unit B, Neich Tower, 128 Gloucester
27     Rd., Wanchai, Hong Kong. Defendant manufactures, distributes, markets, sells,
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 1     offers to sell and/or ships look-a-like, infringing products over the Internet to
 2     consumers in California and in other states.
 3            4.    Does 1-10 are unknown to Plaintiffs, who therefore sues said defendants
 4     by such fictitious name. Does 1-10 aid and abet Defendant’s infringing conduct
 5     designed to harm Nail Alliance in California, and in conspiracy with Defendant
 6     manufacture, distribute, market, sell, offer to sell and ship Defendant’s look-a-like,
 7     infringing products over the Internet to consumers in California and in other states.
 8     Does 1-10 include but are not limited to persons using ever-changing fictious names
 9     to sell Defendant’s products over Internet marketplaces. Plaintiffs will seek leave of
10     Court to amend this Complaint to insert the true name and capacities of said
11     defendants when the same has been ascertained. Plaintiffs, upon information and
12     belief, alleges that Does 1-10 are each legally responsible with Defendant in some
13     manner for the events and happenings herein alleged and that Plaintiffs’ damages as
14     alleged herein were proximately caused by Defendants, and each of them.
15                                JURISDICTION AND VENUE
16            5.    This is a civil action for patent infringement, trade dress infringement,
17     and unfair competition in violation of the laws of the United States and the State of
18     California. Plaintiffs seek an injunction and an award of profits, damages, and
19     related relief.
20            6.    This Court federal question jurisdiction over this civil action pursuant to
21     28 U.S.C. §§ 1331 and 1338 and also because the action presents a federal question
22     under the Lanham Act, 15 U.S.C. §§ 1114 and 1125(a) and the Patent Act, 35
23     U.S.C. § 271. This Court has supplemental jurisdiction over all other claims
24     asserted herein under 28 U.S.C. §§ 1338(b) and 1367(a). This Court may assume
25     jurisdiction over the state law claims as the federal and state claims are both based
26     on the same operative facts, and judicial economy, convenience, and fairness to the
27     parties will result in such assumption of jurisdiction.
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        PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1            7.    Defendants are subject to this Court’s specific personal jurisdiction
 2     pursuant to due process and the California’s long arm statute, Code of Civil
 3     Procedure § 410, which authorizes California courts to exercise jurisdiction on any
 4     basis that is not inconsistent with the Constitution of the United States or the
 5     Constitution of California. See, e.g., Luberski, Inc. v. Oleficial F.LLI Amato S.R.L.,
 6     171 Cal. App. 4th 409, 413 (2009).
 7            8.    Among other reasons, Defendants are subject to personal jurisdiction in
 8     California because of their purposeful availment of the benefits and protections of
 9     California and its laws, and because this lawsuit arises directly out of Defendants’
10     substantial business contacts within the state of California and within this judicial
11     district. Among other contacts, Defendants sell and ship Defendant’s infringing
12     products to consumers in California or are otherwise responsible for Defendant’s
13     wrongful contact directed towards Californians and harming Nail Alliance in
14     California. Defendant’s infringing products are available for purchase throughout
15     this Judicial District to consumers in California, including nail salons and through e-
16     commerce stores that are accessible in California, such as, Amazon.com,
17     Walmart.com, eBay.com, and Alibaba.com. As an example, Plaintiffs purchased a
18     sample of the infringing Vishine gel polish in Brea, California.
19            9.    In addition, Defendants have committed and are committing acts of
20     direct infringement in this district, including currently and in the past using,
21     importing, selling, and/or offering for sale the products accused of infringement in
22     this District, such that it would be reasonable for this Court to exercise jurisdiction
23     over Defendants with respect to a claim of trademark and patent infringement and
24     unfair competition which is directly related to each Defendants’ commercial
25     activities in this State and in this Judicial District.
26            10. This Court has personal jurisdiction over Defendants because
27     Defendants, inter alia, transacts business in the State of California and within this
28     District, engages in a persistent course of conduct in the State of California and
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 1     within this District, and expects, or should reasonably expect, its act to have legal
 2     consequences in the State of California.
 3           11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since, upon
 4     information and belief, Defendants are foreign persons or entities engaged in
 5     infringing activities and are causing harm within the district by advertising, offering
 6     to sell and/or selling infringing products to consumers in California, including
 7     through e-commerce stores that are accessible in California.
 8           12. Venue is proper in this district under 28 U.S.C. § 1400(b).
 9           13. The Federal Circuit has ruled in In re HTC Corp., 889 F.3d 1349, 1354
10     (Fed. Cir. 2018) that the Supreme Court’s ruling in TC Heartland LLC v. Kraft
11     Foods Group Brands LLC, 137 S.Ct. 1514 (2017) did not apply to a foreign (alien)
12     corporation. In doing so, the Federal Circuit reaffirmed the longstanding rule that
13     suits against a foreign (alien) defendant “are wholly outside the operation of all the
14     federal venue laws, general and specific.”
15           14. As a result of the foregoing, each foreign (alien) corporation is “present”
16     in this Judicial District and can be sued in this Judicial District.
17           15. This Judicial District is an appropriate and convenient forum for this
18     patent and trademark infringement and unfair competition suit against the
19     Defendant.
20           16. It would be unreasonable and unfair for any Defendant to be able to
21     freely take advantage of and purposefully target the vast market within this Judicial
22     District for its infringing products on the one hand, and then contend that it cannot
23     be sued here because a court in this State and this Judicial District cannot exercise
24     personal jurisdiction over it, or that this Judicial District would not be an appropriate
25     venue for the present patent infringement suit. This is precisely the situation which
26     California’s Long Arm Statute and the venue rules as to foreign (alien) corporations
27     are intended to address, and do address, by allowing for personal jurisdiction by this
28     Court over the Defendant and in this venue under these circumstances.
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 1                        REGISTERED TRADEMARKS-IN-SUIT
 2           17. On January 28, 2014, the U.S. Patent and Trademark Office (“USPTO”)
 3     duly and legally issued U.S. Trademark Registration Number 4,473,557 (“the ’557
 4     Trademark”). A true and correct copy of the ’557 Trademark registration is
 5     attached as Exhibit A. The ’557 Trademark consists of a three-dimensional
 6     configuration of the packaging. A copy of the ’557 Trademark is reproduced below.
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15           18. On January 28, 2014, the USPTO duly and legally issued U.S.
16     Trademark Registration Number 4,473,558 (“the ’558 Trademark”). A true and
17     correct copy of the ’558 Trademark registration is attached as Exhibit B. The ’558
18     Trademark consists of a three-dimensional configuration of the packaging. A copy
19     of the ’558 Trademark is reproduced below.
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        PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1           19. Nail Alliance, LLC is the owner of all right, title, and interest in and to
 2     the ’557 and ’558 Trademarks (“Trademarks-in-Suit”), including the right to
 3     prosecute this action and to collective and receive damages for all past, present, and
 4     future infringements. Nail Alliance, LLC has granted a license to Nail Alliance –
 5     North America, Inc. to the Trademarks-in-Suit.
 6                             REGISTERED PATENTS-IN-SUIT
 7           20. On April 3, 2012, the USPTO duly and legally issued U.S. Patent
 8     Number D656,824 (“the ’824” Patent”), entitled “Bottle with Transparent Window.”
 9     The named inventor of the ’824 Patent is Danny Lee Haile. Danny Lee Haile
10     assigned the entire right, title, and interest in and to the ’824 Patent to Nail Alliance,
11     LLC. A true and correct copy of the ’824 Patent is attached hereto as Exhibit C.
12           21. The ’824 Patent discloses and claims the ornamental design for a bottle
13     with transparent window, which is described and shown from multiple perspectives
14     in Figures 1-5 of the ’824 Patent, reproduced below.
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26           22. On September 10, 2013, the USPTO duly and legally issued U.S. Patent

27     Number 8,528,739 (“the ’739 Patent”), entitled “Package for Colored Products.”

28     The named inventor of the ’739 Patent is Danny Lee Haile. Danny Lee Haile
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        PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1     assigned the entire right, title, and interest in and to the ’739 Patent to Nail Alliance,
 2     LLC. A true and correct copy of the ’739 Patent is attached as Exhibit D.
 3           23. Nail Alliance, LLC is the owner of all right, title, and interest in and to
 4     the ’824 and ’739 Patents (collectively, the “Patents-in-Suit”), including the right to
 5     prosecute this action and to collective and receive damages for all past, present, and
 6     future infringements. Nail Alliance, LLC has granted a license to Nail Alliance –
 7     North America, Inc. to practice the Patents-in-Suit.
 8                                 FACTUAL BACKGROUND
 9     A.   GELISH® BRAND NAIL PRODUCTS
10           24. GELISH brand nail products, including gel polish, foundation, topcoat
11     and other nail care preparations, are known throughout and famous within the nail
12     industry for their high quality, range of colors, durability, ease-of-use, consistency
13     and beauty.
14           25. Plaintiffs’ principal, Danny Haile, invented the first brush-on, soak-off
15     gel polish, which Nail Alliance began selling in earnest in 2010 under the federally
16     registered trademark “GELISH.” GELISH brand gel polish has the benefits of both
17     a traditional nail polish (vibrant colors and a brush on application and finish) and a
18     hard gel (long lasting wear).
19           26. GELISH brand gel polish revolutionized the nail industry. Prior to Mr.
20     Haile’s invention, consumers generally frequented salons on select occasions for
21     pampering or professional treatment. They normally did not go to salons for the
22     application of a nail polish, for example, which they could apply at home. Because
23     nail polish only lasted a few days before chipping or cracking, it is prohibitively
24     expensive for most U.S. consumers to frequent a salon just for nail polish.
25     Moreover, although salons offered alternative and longer lasting products such as
26     acrylics and hard-gels, consumers generally preferred the natural look and
27     convenience of a traditional nail polish. GELISH brand gel polishes solved these
28     problems for salons and professional nail technicians.
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        PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1           27. GELISH brand products provided salons and professional nail
 2     technicians new opportunities to grow their business and expand their services.
 3     GELISH brand gel polish, foundation, and topcoat provided nail technicians with
 4     new products to use as part of the services they offered to consumers. For example,
 5     because of GELISH brand gel polish, consumers could now frequent salons and
 6     obtain a natural, nail-polish look in a convenient finish that would last three to four
 7     weeks. They could obtain vibrant color on a natural nail with a long wear finish that
 8     was easier to remove than an acrylic or hard gel. As a result, GELISH brand
 9     products substantially increased salon business and have experienced tremendous
10     commercial success in the United States and around the world.
11           28. GELISH brand products have won numerous awards, including new
12     product recognition awards, including the following:
13                 •      Nails Magazine’s Readers’ Choice Awards: Favorite New
14          Product (2010, 2013); Favorite Gel Polish (2012, 2013, 2017); Favorite Base
15          Coat (2012, 2017); Favorite Nail Enhancement (2012, 2013); Favorite Topcoat
16          (2012); Favorite Implementing Tools (2012); Favorite New Product (2017);
17          Favorite Nail Enhancement System (2017);
18                 •      NailPro’s Readers’ Choice Awards: Best Gel Polish (2013, 2014,
19          2015, 2016, 2017); Best Brush for Enhancements (2013, 2014, 2015, 2016);
20          Best Nail Treatment (2015); Best Colored Hard Gel (2015); Best New Product
21          (2017);
22                 •      Beauty Launchpad’s Readers’ Choice Awards: Best Gel Polish
23          (2013, 2014, 2015, 2016, 2017, 2018); Best Nail Care (2016, 2017);
24                 •      Nails’ Readers’ Choice Awards: Favorite Gel Polish (2011);
25          Favorite New Product (2012, 2013); Favorite Hard Gel (2014);
26                 •      Pro Esthetic’s Product of the Year (2010) and Most Innovative
27          Nail Product of the Year (2018);
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 1               •     Professional Beauty & Wellness’ Innovative Product of the Year
 2        (2011);
 3               •     Elle Beauty’s IT List (2011);
 4               •     Pro Hair & Beauty’s Readers’ Choice Awards: Best Gel Product
 5        (2014);
 6               •     Scratch: Best Education & Training (2014);
 7               •     Design Nail Magazine’s Readers’ Choice Awards: Most
 8        Innovative New Product (2017); and
 9               •     The National Beauty Awards: Best Hand & Nail Product (2018).
10         29. GELISH brand products have been a huge commercial success.
11   According to a 2021 Kline Report, Nail Alliance has become the largest privately
12   held manufacturer of professional nail products around the world and second largest
13   manufacturer, overall, exceeding such competitors as Revlon and L’Oréal, among
14   other cosmetic manufacturers.
15         30. Consumers recognize GELISH brand products by their trademarks and
16   the distinctive trade dress of the GELISH brand bottles. Nail Alliance’s unique,
17   distinct, and well-known GELISH trademarks and trade dress have contributed to
18   making the GELISH brand a commercial success.
19         31. Upon information and belief, consumers recognize GELISH products by
20   these unique, distinctive, and well-known trademarks, trade dress, and bottle, all of
21   which have acquired secondary meaning, and routinely ask for GELISH brand
22   products by name.
23         32. The GELISH mark is protected by multiple federal trademark
24   registrations, including U.S. Trademark Registration Nos. 4,096,115 and 3,857,946.
25         33. The GELISH design and bottle design, which includes a unique three-
26   dimensional configuration and scrollwork pattern is also protected by the
27   Trademarks-in-Suit and Patents-in-Suit.
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      PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1          34. Nail Alliance, LLC has a license agreement with Nail Alliance – North
 2   America, Inc., under which Nail Alliance – North America, Inc. has worldwide
 3   rights to the GELISH marks, trade dress and bottle. Nail Alliance – North America,
 4   Inc. has manufactured, distributed and sold high-quality gel polish, foundation and
 5   topcoat under the GELISH brand in the GELISH bottle (the “GELISH products”).
 6   GELISH products have been sold in distinctive bottles illustrated below (foundation
 7   left, gel polish center, topcoat right).
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21          35. GELISH brand foundation and topcoat are designed to be used in
22   connection with GELISH gel polish (the color of the gel polish is shown through a
23   patent protected transparent window in the GELISH brand bottles). Foundation is
24   applied before the gel polish, and the topcoat is used after the gel polish is applied,
25   to help obtain the desired long-lasting look and finish. Exemplary depictions of the
26   GELISH trade dress and bottles used for the GELISH foundation, gel polish, and
27   topcoat are shown above.
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      PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1         36. Beginning in January 2010, GELISH brand products were sold in Nail
 2   Alliance’s bottle bearing the registered GELISH marks and trade dress.
 3         37. In support of its brand, Nail Alliance has spent millions of dollars
 4   advertising GELISH brand goods in a wide variety of media, including online, trade
 5   shows, trade publications, and industry conventions. Nail Alliance has emphasized
 6   the GELISH brand name, trade dress, and bottles in such advertisements.
 7         38. As a result of Nail Alliance’s advertisement, high quality, distinctive
 8   products and third-party publications and recognition, the GELISH marks, including
 9   trade dress and bottle, qualify as “famous” as the term is used in 15 U.S.C.
10   § 1125(c)(1) or have acquired secondary meaning. They are readily identifiable and
11   help customers distinguish Nail Alliance’s high quality GELISH products from the
12   goods and sources of origin of others.
13         39. The GELISH marks, trade dress and bottle are symbols of the brand’s
14   quality, reputation, and goodwill.
15         40. Nail Alliance sells GELISH products to professional boutiques, salons,
16   and supply stores throughout the United States and around the world through a
17   network of qualified distributors. Such professional boutiques, salons and supply
18   stores display the GELISH products for use on end users (e.g., customers of nail
19   salons who purchase a GELISH manicure service).
20         41. Nail Alliance does not market to or sell GELISH products directly to
21   end users but are for professional use only, including because of the cost and size of
22   the bottles. Similarly, Nail Alliance’s authorized distributors are restricted in selling
23   GELISH products over the Internet. Nail Alliance’s distribution agreements restrict
24   Internet sales to combat the proliferation of counterfeit products, which have
25   historically been sold over the Internet.
26         42. GELISH products are intended for and advertised for professional use
27   only because quality nail products and professional application are important to
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      PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1   avoid risks of harm to consumers. Cheap, low-quality products and poor
 2   unprofessionally trained applications can cause harm to consumers.
 3         43. GELISH products are designed to cure (harden) in response to LED
 4   light. Hence, many gel polish products are sensitive to one or more wavelengths of
 5   light, for example, ultraviolet light. The premature application of such wavelengths
 6   of light can prematurely cure or spoil a gel polish in the bottle.
 7         44. As part of Nail Alliances’ continued improvement in the gel polish
 8   industry, Nail Alliance surprisingly discovered that a light-sensitive or light-
 9   activated product, for example, a gel polish, can be stored and merchandised in a
10   container, and by the inclusion of a small transparent product viewing area, the
11   product’s color can be observed by an end user. Nail Alliance further identified that
12   the ornamental design of the transparent viewing area is novel.
13         45. The GELISH brand bottles are protected by the Patents-in-Suit and
14   incorporate the patented ornamental design and utility of the transparent viewing
15   area in the gel polish bottle.
16         46. As a result, the GELISH brand bottles for gel polish are protected by
17   both the Trademarks-in-Suit and the Patents-in-Suit, as well as common law rights
18   against unfair competition.
19         47. Nail Alliance monitors and polices the use of the GELISH marks and
20   bottle design and utility.
21         48. Nail Alliance has given notice, including to Defendant, pursuant to 15
22   U.S.C. § 1111 by marking GELISH goods with the ® symbol to notify others that
23   the GELISH marks are the subject of federal trademark registrations.
24         49. The Trademarks-in-Suit, bottle, and Patents-in-Suit have never been
25   assigned or licensed to any of the Defendants in this matter.
26   B.   DEFENDANTS’ SPURIOUS AND INFRINGING ACTIVITIES
27         50. Defendants are manufacturing, purchasing, promoting, distributing,
28   advertising, offering to sell, and/or selling counterfeit, spurious, and/or confusingly
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 1   similar products as the GELISH brand products in the United States, including in
 2   California.
 3         51. Defendants have knowledge of Nail Alliance’s exclusive patent and
 4   trademark rights in and to the GELISH marks and bottle, including their exclusive
 5   right to use the GELISH marks and trade dress and the goodwill associated
 6   therewith in the United States and around the world. Notice have been specifically
 7   provided to Defendants, including through cease and desist correspondence and
 8   numerous take-down requests on Internet platforms.
 9         52. The infringing products sold by Defendants are confusingly similar and
10   nearly identical in appearance in terms of the trade dress and patented features of
11   genuine GELISH brand products. Vishine also use a nearly identical trade dress as
12   well as the patented features of the Patents-in-Suit on counterfeit and/or spuriously
13   similar bottles, which include the same or substantially similar artwork, bottle, and
14   bottle designs.
15         53. The image below, taken from https://www.amazon.com/Vishine-Gel-
16   Nail-Polish-Starter/dp/B07JDDC866?th=1, illustrates representative imitations from
17   Defendant infringing upon Nail Alliance’s intellectual property. These examples of
18   infringing product are advertised as part of the Vishine Gel Nail Polish Starter Kit.
19   The infringing products include Vishine’s “gelpolish” products and associated
20   foundation and topcoats in substantively similar infringing bottles:
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 1            54. The infringing Vishine product incorporates Nail Alliances’ GELISH
 2   trade dress and the functional and ornamental features of the Patents-in-Suit through
 3   its inclusion of the solid background and scroll work thereon and the inclusion of
 4   the transparent window.
 5            55. Upon information and belief, the Vishine gel polish bottle has a coating
 6   intended to protect the gel polish from UV light, e.g., a UV resistant coating. Upon
 7   information and belief, the Vishine bottle further includes a transparent viewing port
 8   that does not contain the UV resistant coating.
 9            56. Vishine has been promoting, distributing, advertising, selling, and/or
10   offering to sell counterfeit and/or spuriously imitations of GELISH brand products
11   utilizing its own respective Internet domain names.
12            57. Vishine has made its infringing products available on-line, including
13   from its own website at:
14   https://web.archive.org/web/20220328131137/https://www.vishine.com/.1
15            58. In addition, upon information and belief, Vishine is promoting,
16   distributing, advertising, selling, and/or offering to sell counterfeit and/or spurious
17   imitations of GELISH brand products utilizing third party e-commerce websites
18   such as Amazon.com, Walmart.com, eBay.com, and Alibaba.com.
19            59. Does 1-10 have been promoting, distributing, advertising, selling, and/or
20   offering to sell counterfeit and/or spurious imitations of GELISH brand products in
21   conspiracy with Defendant and/or by aiding and abetting Defendant’s infringing
22   activity, including by utilizing third-party e-commerce websites such as
23   Amazon.com, Walmart.com, eBay.com, and Alibaba.com.
24            60. Upon information and belief, Vishine and Does 1-10 have, in concert,
25   been manufacturing, promoting, distributing, advertising, selling, and/or offering to
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28        The Internet Archive WayBackMachine provides additional evidence of the infringing products being offered for
     sell on Vishine’s webpage www.vishine.com.
                                                            14
         PLAINTIFFS NAIL ALLIANCE, LLC AND NAIL ALLIANCE – NORTH AMERICA, INC. COMPLAINT
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 1   sell counterfeit and/or spurious imitations of the GELISH brand gel polish,
 2   foundation and topcoat, including but not limited to Vishine products.
 3         61. On information and belief, nail salons in California and throughout the
 4   United States have been and are purchasing Vishine’s counterfeit and/or spurious
 5   imitations of GELISH brand products from Vishine and/or Does 1-10 through third
 6   party e-commerce websites.
 7         62. In fact, nail salons are brazenly displaying spurious imitations purchased
 8   from Internet marketplaces on walls intermixed with counterfeit GELISH brand
 9   products intending to confuse consumers and trade off the GELISH goodwill and
10   reputation. An example of such a display is shown below:
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24         63. As seen from a where a customer would be standing, neither the
25   counterfeit nor the spurious imitations of GELISH brand gel polish, foundation and
26   topcoat are readily discernable to a customer, and cause and/or are likely to cause
27   actual confusion as to the source or origin of the displayed product.
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                                               15
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 1         64. Because consumers presumably trust their salon and/or nail technician
 2   and that they are actually getting what they paid for – an authentic GELISH
 3   manicure, they are necessarily confused and the GELISH brand’s goodwill and
 4   reputation are necessarily diminished by these diverted sales.
 5         65. Therefore, not only are nail salon owners and nail technicians likely to
 6   be confused at the point of sale and at least be influenced by initial interest
 7   confusion, but end-users are actually confused believing that they are getting an
 8   authentic GELISH manicure when they are not.
 9         66. Based upon the stolen trade dress and infringed patent design, customers
10   and/or end users actually and/or are likely to confuse the counterfeit and/or spurious
11   Vishine “gelpolish” products with the high quality GELISH brand products, thereby
12   tarnishing Nail Alliance’s GELISH brand.
13         67. Based on the design of Vishine’s bottles and the inclusion of Nail
14   Alliance’s trade dress, Defendants are intentionally marking and selling a product
15   designed to imitate or appear confusingly similar to GELISH brand products, both
16   when Vishine’s products are advertised and purchased over the Internet and when
17   displayed in a nail salon.
18         68. To prevent these salons from purchasing, displaying, advertising, and
19   selling these spurious imitations, Nail Alliance contracted with a brand protection
20   service to contact third party e-commerce websites to take down these infringing
21   products, to no avail, including for example, Amazon.com, Inc. Not only does the
22   process take time, thus allowing the infringing products to proliferate and injure the
23   GELISH brand, but the platforms do little or nothing to prevent Defendants from
24   reposting the same infringing listings and selling infringing product. Plaintiff has
25   been informed that absent a court order, they could (or would) not prevent the
26   reoccurring infringing listings and sales, even though representations were made to
27   Nail Alliance to the contrary when they registered with one or more of these
28   platforms to sell authentic GELISH brand products.
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 1         69. With full knowledge of the counterfeit and suspect nature of the
 2   products, Vishine and Does 1-10 are manufacturing, using, promoting, selling,
 3   and/or otherwise advertising, distributing, and/or offering for sale substantial
 4   quantities of such counterfeit product—fully knowing that these products, with their
 5   inferior quality, will be mistaken for the genuine high quality of genuine GELISH
 6   brand products offered for sale by Nail Alliance.
 7         70. Defendants’ actions are designed to cause, and are causing, actual
 8   confusion among consumers, including both end users and professional nail
 9   technicians, who are led to believe, and believe, and if Defendants are not enjoined,
10   will continue to believe, that they have purchased or have received, or are receiving,
11   genuine GELISH brand products that originate from and are approved and/or
12   supported by Nail Alliance.
13         71. Nail Alliance is suffering irreparable harm due, not only to consumer
14   confusion, but also to, inter alia, the cheap/poor quality of the counterfeit product,
15   the lack of quality control and customer support thereof, the loss of control over
16   Nail Alliance’s famous GELISH marks and the reputation of GELISH products, and
17   the ongoing disparagement and diminution of the goodwill associated with the
18   GELISH brand.
19         72. Defendants’ wrongful conduct has caused Nail Alliance damages, the
20   full amount of which will be difficult to calculate but is not less than $2 million.
21   Since the acts of Vishine will continue in the future unless enjoined and restrained,
22   Nail Alliance has no adequate remedy at law.
23         73. On or about March 30, 2022, Nail Alliance’s representative sent a letter
24   to Vishine explicitly notifying Vishine of the Trademarks-in-Suit and the Patents-in-
25   Suit. A true and correct copy of the letters are attached as Exhibit E.
26         74. Although the address was verified through public sources, including the
27   USPTO, neither Nail Alliance nor Nail Alliance’s representatives received a
28   response from Vishine.
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 1                     COUNT I: TRADE DRESS INFRINGEMENT
 2                                  (Against All Defendants)
 3         75. Plaintiff incorporates by reference the allegations contained in
 4   paragraphs 1-74 above as if fully set forth herein.
 5         76. Plaintiffs own protectable rights in the GELISH marks and trade dress,
 6   including the Trademark-in-Suit, which are inherently distinctive and have acquired
 7   secondary meaning as a designation of source or origin.
 8         77. Defendants knowingly and without the consent of Plaintiffs have used in
 9   commerce reproductions, counterfeit copies, confusingly similar products and
10   packaging, and nearly identical imitations of Plaintiffs’ registered marks and trade
11   dress in connection with the sale, offer for sale, distribution, and/or advertising of
12   goods, which is likely to cause confusion among consumers.
13         78. Notwithstanding Plaintiffs’ well-known and prior rights in the GELISH
14   marks and trade dress, including the Trademark-in-Suit, Defendants manufacture,
15   distribute, promote, offer for sale, and/or sell spurious imitation products, in or
16   affecting interstate commerce, in direct competition with the sale of genuine
17   GELISH products sold under the Trademarks-in-Suit.
18         79. The infringing products trafficked by Defendants are designed to look
19   like GELISH brand products. The bottles so closely imitate the GELISH trade dress
20   that Defendants’ activities are likely to, and are intended to, cause confusion among
21   consumers and have caused actual confusion in the marketplace.
22         80. Defendants’ unlawful, unauthorized and unlicensed manufacture,
23   promotion, distribution, offer for sale, and sale of infringing product create the
24   express or implied misrepresentation that the product was created, authorized,
25   approved and/or supported by Plaintiffs.
26         81. Defendants’ activities constitute trade dress infringement in violation of
27   Plaintiffs’ rights under 15 U.S.C. § 1114 and have caused and will continue to cause
28   Plaintiffs irreparable harm.
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 1         82. The infringing product is generally of inferior quality, lacks the same
 2   quality control and customer support as authentic GELISH brand products, and the
 3   sale thereof will necessarily damage and dilute the goodwill of Plaintiffs and the
 4   GELISH brand, as well as the reputation Nail Alliance has developed in connection
 5   with the sale of genuine GELISH brand products.
 6         83. Plaintiffs have no adequate remedy at law as monetary damages are
 7   inadequate to compensate Plaintiffs for the injuries caused by Defendants.
 8         84. Unless immediately restrained and enjoined by this Court under 15
 9   U.S.C. § 1116(a) and (d) and the equitable powers of this Court, Defendants will
10   persist in their activities and continue to cause Plaintiffs irreparable harm.
11         85. Plaintiffs are entitled to injunctive relief, including the seizure of
12   spurious goods.
13         86. Plaintiffs have suffered damages, including lost profits, according to
14   proof at trial, but in an amount of not less than $2 million dollars, including by not
15   less than $100,000 in damages per each of the Defendants’ unlawful activities.
16         87. In addition, and/or in the alternative, Plaintiffs are entitled to disgorge
17   and recover Defendants’ profits from their sales of infringing products.
18         88. Because of Defendants’ infringing activities were willful, malicious
19   and/or fraudulent, and/or because of the exceptional nature of this case, Plaintiffs
20   are entitled to enhanced (or treble) damages as well as an award of costs and
21   reasonable attorneys’ fees.
22         89. At Plaintiffs’ election, in lieu of compensatory damages according to
23   proof, Plaintiffs should be awarded statutory damages from Defendants in an
24   amount not more than $2 million per each colorable imitation of the Trademarks-in-
25   Suit used and product sold, offered for sale, or distributed, as provided by 15 U.S.C.
26   § 1117(c)(2) of the Lanham Act.
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 1                   COUNT II: FALSE DESIGNATION OF ORIGIN
 2                                 (Against All Defendants)
 3         90. Plaintiffs incorporates by reference the allegations contained in
 4   paragraphs 1-74 above as if fully set forth herein.
 5         91. Plaintiffs own protectable rights in the GELISH marks and trade dress,
 6   including the Trademark-in-Suit, which are inherently distinctive and have acquired
 7   secondary meaning as a designation of source or origin.
 8         92. Defendants knowingly and without the consent of Plaintiffs have used in
 9   commerce reproductions, counterfeit copies, confusingly similar products and
10   packaging, and nearly identical imitations of Plaintiffs’ registered marks and trade
11   dress in connection with the sale, offer for sale, distribution, and/or advertising of
12   goods, which is likely to cause confusion among consumers.
13         93. Notwithstanding Plaintiffs’ well-known and prior rights in the GELISH
14   marks and trade dress, including the Trademark-in-Suit, Defendants manufacture,
15   distribute, promote, offer for sale, and/or sell spurious imitation products, in or
16   affecting interstate commerce, in direct competition with the sale of genuine
17   GELISH products sold under the Trademarks-in-Suit.
18         94. The infringing products trafficked by Defendants are designed to look
19   like GELISH brand products. The bottles so closely imitate the GELISH trade dress
20   that Defendants’ activities are likely to, and are intended to, cause confusion among
21   consumers and have caused actual confusion in the marketplace.
22         95. By misappropriating and using the GELISH marks, Defendants
23   misrepresent and falsely describes the content, origin, and source of their imitation
24   product in addition to creating a likelihood of and causing actual confusion.
25         96. The infringing product is generally of inferior quality, lacks the same
26   quality control and customer support as authentic GELISH brand products, and the
27   sale thereof will necessarily damage and dilute the goodwill of Plaintiffs and the
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 1   GELISH brand, as well as the reputation Nail Alliance has developed in connection
 2   with the sale of genuine GELISH brand products.
 3         97. Defendants’ unlawful, unauthorized and unlicensed manufacture,
 4   promotion, distribution, offer for sale, and sale of infringing product creates the
 5   express and implied misrepresentation that the product was created, authorized,
 6   approved and/or supported by Plaintiffs.
 7         98. Defendants’ activities violate 15 U.S.C. § 1125(a) in that their use in
 8   commerce of the GELISH marks, trade dress and/or bottle, create a false
 9   designation of origin. Defendants’ use, manufacture, promotion, distribution, offer
10   to sell, sale, and importation into the United States of infringing products that are
11   confusingly similar to the GELISH marks, bottle, and trade dress infringe Plaintiffs’
12   rights in violation of the Lanham Act and common law.
13         99. Defendants’ acts alleged above have caused, and if not enjoined will
14   continue to cause, irreparable and continuing harm to Plaintiffs’ trademark and trade
15   dress rights, business, reputation, and goodwill.
16         100. Plaintiffs have no adequate remedy at law.
17         101. Plaintiffs are entitled to injunctive relief, including the seizure of
18   counterfeit goods.
19         102. Plaintiffs have been damaged according to proof at trial but in an
20   amount of not less than $2 million.
21         103. Defendants’ use of colorable imitations of the GELISH brand bottle has
22   been intentional and willful. Defendants’ bad faith is evidence at least by the
23   striking similarity of the infringing product to the GELISH brand bottle.
24   Additionally, the use of identical scroll artwork, an identical color scheme, and
25   identical packaging also demonstrate the intentional and willful nature of
26   Defendants’ actions.
27         104. Because of Defendants’ infringing activities were willful, malicious
28   and/or fraudulent, and/or because of the exceptional nature of this case, Plaintiffs
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 1   are entitled to enhanced (or treble) damages as well as an award of costs and
 2   reasonable attorneys’ fees.
 3         105. In lieu of compensatory damages according to proof, Plaintiff should be
 4   permitted to seek and/or award statutory damages from each Defendant in an
 5   amount of not more than $2 million per each colorable imitation GELISH trade
 6   dress used and product sold, offered for sale, or distributed, as provided by 15
 7   U.S.C. § 1117(c)(2) of the Lanham Act.
 8               COUNT III: INFRINGEMENT OF THE ’824 PATENT
 9                                 (Against All Defendants)
10         106. Plaintiffs incorporate by reference the allegations contained in
11   paragraphs 1-74 above as if fully set forth herein.
12         107. Plaintiffs own the’824 Patent, which claims the following design:
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19         108. Defendants have directly infringed and continue to infringe the ’824
20   Patent by making, using, testing, selling, licensing, offering for sale within the
21   United States and/or importing into the United States infringing products, including
22   at least Vishine’s “gelpolish” bottle depicted below:
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 1         109. Among other things, Defendants infringe the ’824 Patent by making,
 2   using, testing, selling, licensing, offering for sale within the United States and/or
 3   importing into the United States the Vishine Gel Nail Polish Starter Kit, which
 4   includes a bottle with a transparent window identical or substantially the same as the
 5   ’824 Patent’s patented design.
 6         110. Consumers and end users of bottles, including, for example, nail salons
 7   displaying gel polish in the bottles and offering manicure and pedicure services,
 8   who use, test, sell, license, offer for sale within the United States and/or import into
 9   the United States Vishine’s accused products have infringed and continue to
10   infringe the ’824 Patent.
11         111. Defendants are and have been aware of these activities and
12   infringement.
13         112. Defendants have knowingly induced and continue to induce users of its
14   gel polish bottles to infringe the ’824 Patent, including by intentionally developing,
15   making, marketing, advertising, and/or providing instruction materials to advertise
16   and/or use its products, including at least the “gelpolish” gel polish, for example,
17   included in the Vishine Gel Nail Polish Starter Kit.
18         113. Vishine and Does 1-10 have contributed and continue to contribute to
19   the infringement of the ’824 Patent by nail salons who use within the United States
20   and/or import into the United States its products, including at least the “gelpolish”
21   gel polish included in, for example, the Vishine Gel Nail Polish Starter Kit, by
22   providing the necessary marketing, advertising, training, and/or support. For
23   example, the above-shown design included in the Vishine Gel Nail Polish Starter
24   Kit is a material component of the patented design. Defendants know and has
25   known that this design is especially made or especially adapted for use in the
26   infringement of the ’824 Patent and is not a staple article or commodity of
27   commerce suitable for substantial non-infringing use.
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 1         114. Defendants’ infringement is and has been willful, deliberate and
 2   intention. They had pre-suit knowledge of the ’824 Patent due to take down
 3   requests and cease and desist correspondence and continued to market and sell the
 4   accused products. On information and belief, Defendants’ customers and end users
 5   have found that the ’824 Accused Products are substantially the same as the design
 6   claimed in the ’824 Patent.
 7               COUNT IV: INFRINGEMENT OF THE ’739 PATENT
 8                                 (Against All Defendants)
 9         115. Plaintiff incorporates by reference the allegations contained in
10   paragraphs 1-74 above as if fully set forth herein.
11         116. Plaintiffs own the’739 Patent.
12         117. Defendants have directly infringed (literally and/or by the doctrine of
13   equivalents), and continues to directly infringe, at least claim 8 of the ’739 Patent by
14   making, using, testing, selling, licensing, and/or offering for sale within the United
15   States, and/or importing into the United States its products, services, methods,
16   and/or systems including, without limitation, the “gelpolish” gel nail polish included
17   in, for example, the Vishine Gel Nail Polish Starter Kit. Defendants are liable for
18   their infringement of the ’739 Patent in violation of 35 U.S.C. § 271(a).
19         118. For example, the accused products all infringe at least claim 8 of the
20   ’739 Patent. Claim 8 is reproduced below:
21               8. A cosmetic container for containing a colored photocurable
                 cosmetic product, said container comprising a transparent bottle
22               substantially covered with a coating and having at least one
                 transparent product viewing area adapted to allow the product to
23               show therethrough; wherein the coating substantially reduces
                 transmission of at least one wavelength of light capable of photo-
24               curing said colored cosmetic product that would otherwise pass
                 through the bottle to the contained colored cosmetic product;
25
                 wherein said viewing area substantially lacks said coating; and
26
                 wherein said colored cosmetic product is a nail polish, nail gel,
27               or a combination or modification thereof.
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 1         119. The accused products are cosmetic containers for containing a gel polish
 2   that is a colored photocurable cosmetic product. See Exhibit F, p. 1-3 (“6PCS
 3   Colors Gel Polish”) (“Step 4: Apply the color gel polish, then cure with the nail
 4   dryer.”). Upon information and belief, the accused products contain ultraviolet
 5   transparent bottles that are substantially covered with a coating and have a small
 6   transparent window for a user to see the gel nail polish in the containers, as
 7   demonstrated by the small circular transparent window located on the external
 8   portion of the bottle and showing the color of the nail polished within the bottle to
 9   an end user or customer. The accused products include photocurable gel nail polish
10   (see Exhibit F, p. 3 (“Step 4: Apply the color gel polish, then cure with the nail
11   dryer.”)); and therefore, upon information and belief, the bottles prevent premature
12   curing of the photocurable gel nail polish. The accused products further contain a
13   coating covering substantially all of the bottle, except for the transparent window,
14   which reduces transmission of light capable of prematurely curing or spoiling the
15   colored nail polish, as shown by the whitish gray color of the bottles. As
16   demonstrated by the figures included herein, the accused products include a
17   transparent window for viewing the color of the gel polish contained within the
18   bottle, and the transparent window does not include, or in the alternative
19   substantially lacks, the coating that prevents light that could cure the gel polish.
20   Finally, the accused products are nail gel polishes. See Exhibit F, p. 3 (“6PCS
21   Colors Gel Polish”).
22         120. Notwithstanding Vishine’s knowledge of the ’739 Patent and having
23   written notice from Plaintiffs regarding their patent portfolio, and other facts
24   discussed above, Vishine has actively, knowingly, and intentionally induced and
25   continues to induce infringement of at least claim 8 of the ’739 Patent, including by
26   intentionally developing, marketing, advertising, manufacturing and/or providing its
27   products, including at least the Vishine Gel Nail Polish Starter Kit with the
28   knowledge (and/or willful blindness) of the infringement and specific intent that
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 1   third parties, such as customers, will manufacture, sell, offer for sale, and/or use the
 2   accused devices in the United States. For example, Vishine encourage third parties,
 3   such as customers and/or distributors, to use and/or sell the Vishine’s “gelpolish”
 4   nail gel polish, included in, for example, the Vishine Gel Nail Polish Starter Kit, for
 5   example, on the websites www.amazon.com and www.alibaba.com. As a result,
 6   third-parties have directly infringed the ’739 Patent.
 7         121. Notwithstanding Does 1-10 knowledge of the ’739 Patent and other
 8   facts discussed above, Does 1-10 have actively, knowingly, and intentionally
 9   induced and continues to induce infringement of at least claim 8 of the ’739 Patent,
10   including by intentionally developing, marketing, advertising, manufacturing and/or
11   providing the accused products, including at least Vishine’s “gelpolish” gel nail
12   polish products included in, for example, the Vishine Gel Nail Polish Starter Kit
13   with the knowledge (and/or willful blindness) of the infringement and specific intent
14   that third-parties, such as customers, will manufacture, sell, offer for sale, and/or use
15   the accused devices in the United States. For example, Does 1-10 encourage third-
16   parties, such as customers, to use and/or sell the Vishine Gel Nail Polish Starter Kit,
17   for example, on the websites www.amazon.com and www.alibaba.com. As a result,
18   third-parties have directly infringed the ’739 Patent.
19         122. Vishine has contributed to and continues to contribute to the
20   infringement of the ’739 Patent by third parties, whose use, sale, and/or offer for
21   sale of its products, including at least the Vishine Gel Nail Polish Starter Kit,
22   directly infringes at least claim 8 of the ’739 Patent, by promoting, advertising,
23   manufacturing, and marketing the Vishine Gel Nail Polish Starter Kit, at a
24   minimum, on the websites www.amazon.com and www.alibaba.com, and by
25   providing the necessary equipment and related documentation to third parties to use
26   and/or operate the infringing device alone or with other instrumentalities.
27         123. Does 1-10 have contributed to and continues to contribute to the
28   infringement of the ’739 Patent by third parties, whose use, sale, and/or offer for
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 1   sale of its products, including at least “gelpolish” gel polish included, for example,
 2   in the Vishine Gel Nail Polish Starter Kit, directly infringes at least claim 8 of the
 3   ’739 Patent, by promoting, advertising, manufacturing, and marketing the Vishine
 4   Gel Nail Polish Starter Kit, at a minimum, on the websites www.amazon.com and
 5   www.alibaba.com, and by providing the necessary equipment and related
 6   documentation to third parties to use and/or operate the infringing device alone or
 7   with other instrumentalities.
 8         124. The accused products are not staple articles or commodities of
 9   commerce suitable for substantial non-infringing use.
10         125. Defendants has deliberately persisted in their respective infringing acts
11   despite knowledge of the ’739 Patent, and thus had full knowledge of the risk of
12   infringement. Despite this risk, Defendants continued and continues to make, use,
13   sell, and/or offer for sale the infringing products in the United States. As such, the
14   infringement is willful.
15        COUNT VI: UNFAIR COMPETITION CALIFORNIA BUSINESS &
16                          PROFESSIONS CODE § 17200 et seq.
17         126. Plaintiffs incorporate by reference the allegations contained in
18   paragraphs 1-121 above as if fully set forth herein.
19         127. Defendants’ wrongful conduct as alleged herein constitutes an unlawful,
20   fraudulent, and/or unfair act(s) or practice(s) within the meaning of California’s
21   Unfair Competition Law (Bus. & Prof. Code § 17200).
22         128. Defendants’ wrongful conduct has caused Plaintiffs to suffer a loss of
23   money or property within the meaning of the statute.
24         129. Defendants’ wrongful conduct has caused, and is causing, Plaintiffs’ to
25   suffer irreparable harm.
26         130. Plaintiffs have no adequate remedy at law
27         131. Unless immediately restrained and enjoined by this Court, Defendants
28   will persist in their activities, which should be enjoined.
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 1         132. Plaintiffs’ pray for all equitable relief the Court determines is
 2   appropriate, including but not limited to injunctive relief.
 3                                 PRAYER FOR RELIEF
 4        WHEREFORE, Plaintiffs prays for the following relief:
 5         A.    That each defendant, its agents, servants, employees, officers, attorneys,
 6   successors, and assigns, and all persons acting in concert or participation with them,
 7   be temporarily, preliminarily, and permanently enjoined in this and all other Judicial
 8   Districts of the United States from: (i) manufacturing, distributing, selling, offering
 9   for sale, holding for sale or advertising any counterfeit, products, merchandise or
10   goods bearing the Trademarks-in-Suit and other indicia of the GELISH trade dress
11   or any colorable variation or imitation thereof; and (ii) representing that any
12   counterfeit products, merchandise or goods manufactured, distributed, sold, held for
13   sale or advertised by them are sponsored or authorized by Nail Alliance;
14         B.    That the United States Marshal, along with authorized agents of
15   Plaintiffs and/or any persons acting under their supervision, are authorized to seize
16   and impound at verified locations, when the order issues: (a) any and all counterfeit
17   products that each Defendant possesses or attempts to advertise, promote, sell,
18   distribute, or hold for sale, whether or not in the process of manufacture or delivery,
19   (b) any and all labels, packages, wrappings, receptacles, and advertising collateral,
20   the use of which in commerce would constitute trademark infringement and violate
21   the injunction, and (c) any and all evidence of the counterfeiting activity, including
22   but not limited to financial records, business records, shipping records, purchase
23   orders, invoices, computers, storage devices, surveillance recordings, and any other
24   evidence of wrongdoing whether held in electronic or physical format;
25         C.    That each Defendant, pursuant to 15 U.S.C. § 118, and within seven
26   days of the date of entry of an injunction and notice of the order, deliver up for
27   testing, preservation or destruction (a) any and all counterfeit products that the
28   respective Defendant possesses or attempted to advertise, promote, sell, distribute,
                                                28
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 1   or hold for sale, whether or not in the process of manufacture of delivery, (b) any
 2   and all labels, packages, wrappings, receptacle, and advertising collateral, the use of
 3   which in commerce would constitute trademark infringement and violate the
 4   injunction, and (c) any and all evidence of the counterfeiting activity, including but
 5   not limited to financial records, business records, shipping records, purchase orders,
 6   invoices, computers, storage devices, surveillance recordings, and any other
 7   evidence of wrongdoing whether held in electronic or physical format;
 8         D.    That each Defendant be required to account for all nail product bottles
 9   acquired and sold in the last three years or any other relevant time period, and pay
10   Plaintiffs for all profits and damages resulting from each Defendant’s infringing and
11   counterfeiting activities, and that the award to Plaintiffs be trebled, as provided for
12   under 15 U.S.C. § 1117, or, at Plaintiffs’ election, that Plaintiffs be awarded
13   statutory damages from each Defendant in an amount not more than $2 million per
14   each counterfeit GELISH trade dress used and product sold, offered for sale, or
15   distributed, as provided by 15 U.S.C. § 1117(c)(2) of the Lanham Act;
16         E.    A judgment that Vishine directly infringes and has directly infringed the
17   Patents-in-Suit;
18         F.    A judgement that each of Does 1-10 directly infringes and has directly
19   infringed the Patents-in-Suit;
20         G.    A judgement that Vishine induces and has induced infringement of the
21   Patents-in-Suit;
22         H.    A judgement that each of Does 1-10 induces and has induced
23   infringement of the Patents-in-Suit;
24         I.    A judgment that Vishine contributes to and has contributed to
25   infringement of the Patents-in-Suit;
26         J.    A judgment that each of Does 1-10 contributes to and has contributed to
27   infringement of the Patents-in-Suit;
28
                                                29
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 1          K.    An award of damages pursuant to 35 U.S.C. § 284, including
 2   supplemental damages for any continuing post-verdict infringement up until entry of
 3   final judgment, with an accounting, as needed;
 4          L.    A judgment that Defendant willfully infringed the Patents-in-Suit and an
 5   order trebling Plaintiffs’ damages;
 6          M.    An order that Defendant pay to Plaintiffs punitive damages;
 7          N.    An order that Defendant pay to Plaintiffs’ pre-judgement interest;
 8          O.    A declaration that this case is exceptional and an order for Defendant
 9   pay to Plaintiffs their costs, reasonable attorney’s fees, and investigative fees; and
10          P.    An award of such other and further relief as this Court deems just and
11   proper.
12                               DEMAND FOR JURY TRIAL
13          Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby demand a
14   jury trial on issues so triable.
15
     Dated: May 6, 2022                     By: /s/ Todd M. Malynn
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28                                          Nail Alliance – North America, Inc.
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